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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION


ROBERT PENDERGRASS, ERIC                          )
KOECHLING, and JAMES PATTON,                      )
                                                  )
          Plaintiffs,                             )
                                                  )
    v.                                            )        Case No. 4:18-CV-01092-NCC
                                                  )
BI-STATE UTILITIES CO.,                           )
                                                  )
          Defendant.                              )


                                 MEMORANDUM AND ORDER

         This matter is before the Court on the parties’ Joint Motion for Approval of Settlement

(Doc. 37). The parties have consented to the jurisdiction of the undersigned United States

Magistrate Judge pursuant to 28 U.S.C. § 636(c) (Doc. 11). For the following reasons, the Court

GRANTS the parties’ Joint Motion for Approval of Settlement.

                                         I. BACKGROUND

         On May 17, 2018, Plaintiffs Robert Pendergrass, Eric Koechling, and James Patton

(“Plaintiffs”) filed this suit against Defendant Bi-State Utilities Co. (“Defendant”) for unpaid

overtime wages in violation of the Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 201, et seq.,

and Missouri wage and hour laws, Mo. Rev. Stat. § 290.505, et seq., (Counts I and II), for Quantum

Meruit (Count III), for Unjust Enrichment (Count IV), and for Workers’ Compensation Retaliation

(Count V) in the Circuit Court of Saint Louis County, Missouri (Doc. 3). Counts I-IV are raised by

all Plaintiffs against Bi-State and Count V, the Workers’ Compensation claim, is brought by

Plaintiff Robert Pendergrass alone against Bi-State (Id.). On July 5, 2018, Bi-State timely removed

the case to this Court based on federal question jurisdiction (Doc. 1). On August 8, 2018, on the
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parties’ stipulation, the Court severed Count V and remanded the claim to the Circuit Court of Saint

Louis, County Missouri (Doc. 19). On October 15, 2018, the Court denied Defendant’s Motion to

dismiss Plaintiffs’ Complaint and, on November 5, 2018, Defendant answered the Complaint

denying all allegations in the complaint (Docs. 12, 24). A Rule 16 Conference was held on

November 6, 2018, and a case management order was issued that same day (Docs. 25, 26). Per the

Case Management Order, this case was referred to alternative dispute resolution on May 13, 2019,

and the parties settled the action at their conference (Docs. 30, 35). On July 19, 2019, the parties

filed a Joint Motion for Approval of Settlement (Doc. 37) and copies of the settlement agreements

(Doc. 37-1).

                                          II. DISCUSSION

       “[T]he law is unsettled as to whether judicial approval of a proposed settlement of FLSA

claims is required in the absence of a certified class.” Boland v. Baue Funeral Home Co., No. 4:15-

CV-00469 RLW, 2015 WL 7300507, at *1 (E.D. Mo. Nov. 18, 2015) (internal quotation marks

omitted). See, e.g., King v. Raineri Const., LLC, No. 4:14-CV-1828 CEJ, 2015 WL 631253, at *1

(E.D. Mo. Feb. 12, 2015) (collecting cases). Nonetheless, because declining to review the proposed

settlement agreement would leave the parties in an uncertain position, the Court will review the

settlement’s FLSA-related terms for fairness. See King, 2015 WL 631253, at *2. “A district court

may only approve a settlement agreement in a case brought under § 2l6(b) of the FLSA after it

determines that the litigation involves a bona fide dispute and that the proposed settlement is fair

and equitable to all parties.” Williams v. BPV Mkt. Place Investors, L.L.C., No. 4:14-CV-1047

CAS, 2014 WL 5017934, at *1 (E.D. Mo. Oct. 7, 2014). Among the factors the court may consider

in evaluating the settlement’s fairness are “the stage of the litigation, the amount of discovery

exchanged, the experience of counsel, and the reasonableness of the settlement amount based on the

probability of plaintiffs’ success with respect to any potential recovery.” Id.



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       The Court must also assess the reasonableness of the plaintiffs’ attorney’s fees. Id. at *2.

“Attorney’s fees in FLSA settlements are examined to ensure that the interest of plaintiffs’ counsel

in counsel’s own compensation did not adversely affect the extent of the relief counsel procured for

the clients.” Collins v. Veolia ES Indus. Servs., Inc., No. 4:15-CV-00743-AGF, 2016 WL 1275598,

at *2 (E.D. Mo. Apr. 1, 2016). “In a private FLSA action where the parties settled on the fee

through negotiation, there is a greater range of reasonableness for approving attorney’s fees.” Id.

(citation omitted); see also Dail v. George A. Arab Inc., 391 F. Supp. 2d 1142, 1146 (M.D. Fla.

2005) (“In an individual FLSA claim, where separate amounts are set forth for the payments of

unpaid wages and payments for attorneys’ fees, the Court has greater flexibility in exercising its

discretion in determining the reasonableness of the attorneys’ fee.”).

       Considering the totality of the circumstances, the Court finds the parties’ proposed

settlements to be fair and reasonable to all parties. The Court finds no evidence of overreaching on

the part of Defendant based upon the amount of the settlement proceeds provided to the Plaintiffs.

The settlements are products of arm’s length negotiations and all parties involved have been

represented by experienced counsel throughout the litigation. Bonetti v. Embarq Mgmt. Co., 715 F.

Supp. 2d 1222, 1227 (M.D. Fla. 2009) (“If the parties are represented by competent counsel in an

adversary context, the settlement they reach will, almost by definition, be reasonable.”).

Additionally, the parties agreed to the settlements only after completion of significant discovery.

Indeed, the settlements were reached just after the close of discovery. See Risch v. Natoli

Engineering Co., LLC, No. 4:11-CV-1621 AGF, 2012 WL 4357953, at *3 (E.D. Mo. Sept. 24,

2012) (the settlement agreement occurred after the parties engaged in “extensive fact discovery,

exchanging and reviewing significant numbers of documents . . . all documents necessary to

evaluate the class claims and damages.”). The Court also finds the amount of attorney’s fees in the

proposed FLSA settlements to be reasonable as the amount of attorney’s fees are less than 50% of



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the final settlement amounts for each plaintiff. Finally, the parties seek leave to file a Joint

Stipulation for Dismissal after the parties fulfil the terms of the Settlement Agreements (Doc. 37 at

3). The Court is mindful of the parties’ intent but will not indefinitely stay the resolution of this

action. Therefore, the Court will afford the parties sixty days to file their Joint Stipulation for

Dismissal with the Court.

       The Court reiterates that it has reviewed and approved only the material terms of the

proposed settlement as they relate to the FLSA claims. “No opinion is necessary as to the

enforceability of [other] terms and none is given. The Court’s review of a proposed FLSA

settlement is properly limited only to those terms precisely addressing the compromised monetary

amounts to resolve pending wage and overtime claims.” King, 2015 WL 631253, at *4.

                                         III. CONCLUSION

       Accordingly,

       IT IS HEREBY ORDERED that the parties’ Joint Motion for Approval of Settlement

(Doc. 37) is GRANTED.

       IT IS FURTHER ORDERED that the parties shall file a Joint Stipulation for Dismissal

within sixty (60) days of the date of this Order.

Dated this 2nd day of August, 2019.


                                                            /s/ Noelle C. Collins
                                                          NOELLE C. COLLINS
                                                          UNITED STATES MAGISTRATE JUDGE




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